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                                                                                       APR 2 T M
                       IN THE UNITED STATES DISTRICT COUR
                       FOR THE EASTERN DISTRICT OF VIRGINI
                                   ALEXANDRIA DIVISION



AMAZON.COM.INC. and AMAZON
DATA SERVICES,INC..

               Plaintiffs.
                                                               CASE NO. I -
        V.



WDC HOLDINGS LLC dba NORTHSTAR
                                                          VERIFIED COMPLAINT AND
COMMERCIAL PARTNERS: BRIAN
                                                           DEMAND FOR .JURY TRIAL
WATSON: STERLING NCP FF. LLC;
MANASSAS NCP FF. LLC; NSIPI
ADMINISTRATIVE MANAGER;NOVA                           FILED UNDER SEAL PURSUANT TO
WPC LLC; WHITE PEAKS CAPITAL LLC;                                  LOCAL RULE 5

VILLANOVA TRUST; JOHN DOES 1-20.

               Defendants.



                                   VERIFIED COMPLAINT


       Plaintiffs Amazon.com. Inc. and Amazon Data Services. Inc. (collectively "Plaintiffs" or

"Amazon"), hereby allege the following in support of this action for an ex pane temporary

restraining order, preliminary injunction, and other legal and equitable remedies for harm caused

and imminently threatened by Defendants" unlawful and inequitable conduct.

                                PRELIMINARY STATEMENT


        I.    Amazon seeks immediate relief from a significant fraud and kickback scheme that

Defendants devised to secure illicit personal financial gains from certain Amazon real property

transactions in Virginia. The need for relief is urgent based on Defendants' response to their

removal from all involvement with transactions related to Amazon and an FBI raid at the home of

one oftheir leaders in early April. Following the recent raid and issuance ofthe termination notices

severing Amazon's ties with Defendants, this leader made statements alerting his accomplices to

the FBI's inquiries and misrepresenting conduct that Amazon is actively investigating in

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